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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
            Plaintiff,                  )
                                        )
      vs.                               )     Case No. 4:08CR405 CDP
                                        )
ZEUANTRAY VERNER BARRY,                 )
                                        )
            Defendant.                  )

                                     ORDER

      This matter is before the undersigned on the pro se sealed motion of

defendant Zeuantray V. Barry titled “Motion for Review and Reconsideration of

Magistrate’s Order.” I have carefully reviewed the motion and have considered

the arguments made before the Magistrate Judge, and I see no basis to change the

decision previously made. Accordingly,

      IT IS HEREBY ORDERED that defendant Zeuantray V. Barry’s pro se

sealed motion for reconsideration [#206] is denied.




                                            CATHERINE D. PERRY
                                            UNITED STATES DISTRICT JUDGE


Dated this 15th day of October, 2008.
